Case 2:10-md-02179-CJB-DPC Document 4421-3 Filed 10/27/11 Page 1 of 6




                      Exhibit B
   Case 2:10-md-02179-CJB-DPC Document 4421-3 Filed 10/27/11 Page 2 of 6




                          UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF LOUISIANA


IN RE: OIL SPILL by the OIL RIG                    *
                                                              MDL NO. 2179
      “DEEPWATER HORIZON” in the                   *
      GULF OF MEXICO, on APRIL 20, 2010            *
                                                              SECTION J
                                                   *
       Relates to: No. 10-8888 Doc. Ref. No. 63576 *
                                                              JUDGE BARBIER
                                                   *
                                                   *
                                                              MAG. JUDGE SHUSHAN
Vessel of Opportunity (VoO) Contract Disputes      *
                                                   *
******************************************** *

                            DECLARATION OF MATTHEW KISSINGER

         I, Matthew Kissinger, declare that:

1. I am over the age of twenty-one (21) and not under any disability that would preclude my

   making this declaration.

2. I am employed by BP Exploration Operating Company Ltd.

3. During the response to the oil spill from the MC 252 #1 Macondo Well (“Incident”), I served

   as a Vessels of Opportunity (“VoO”) Branch Director in the Logistics Section at the Mobile

   Incident Command Post (“ICP”) in Mobile, Alabama. The ICP was part of the Unified

   Command structure. As a VoO Branch Director, I led the logistics component of the VoO

   program for the Mobile ICP and was responsible for, among other things, recruiting vessels

   for the VoO program and delivering the appropriate vessels to meet the operational needs for

   oil spill response activities.

4. Having acted as a VoO Branch Director, I am fully knowledgeable of the facts stated herein.

   I am competent to testify about the facts in this Declaration, if called on by the Court to do

   so.
   Case 2:10-md-02179-CJB-DPC Document 4421-3 Filed 10/27/11 Page 3 of 6




5. To manage the response to the Incident, which originated on the Outer Continental Shelf

   (“Shelf”) in connection with the sinking of the Deepwater Horizon mobile offshore drilling

   unit, the federal government established a Unified Command structure pursuant to the

   National Contingency Plan (“NCP”), 40 C.F.R. Part 300. While the Unified Command

   structure brought together the functions of the federal and state governments, as well as BP,

   to respond to the Incident consistent with the NCP, the designated Federal On-Scene

   Coordinator from the United States Coast Guard retained ultimate decision-making authority

   at all times.

6. The National Contingency Plan—and thus the Unified Command structure—was established

   pursuant to the Oil Pollution Act of 1990, including its amendments to the Clean Water Act,

   and other provisions of those statutes.      The Oil Pollution Act of 1990 also imposes

   obligations on lessees or permittees like BP in connection with spill incidents on the Shelf.

7. The VoO program was part of the Unified Command’s integrated response to the Incident.

   The VoO program, as established during the response to the Incident, was not part of BP’s

   Gulf of Mexico Oil Spill Response Plan.

8. Under the VoO program, BP America Production Company and BP Exploration &

   Production Inc., as participants in the Unified Command structure, entered into Master

   Vessel Charter Agreements (“MVCAs”) directly with vessel owners.                MVCAs were

   established exclusively to allow for the use of the underlying vessels in connection with the

   Unified Command’s coordinated response to the Incident.

9. Under the direction of the Unified Command, vessels in the VoO program performed a

   variety of response, recovery and containment activities directly related to the Incident,




                                                2
   Case 2:10-md-02179-CJB-DPC Document 4421-3 Filed 10/27/11 Page 4 of 6




   including towing and deploying boom, skimming oil, locating and recovering tar balls,

   transporting supplies and personnel, and supporting in situ controlled burning operations.

10. The activities in which vessels in the VoO program engaged and the areas in which they

   operated were demand-driven and based on operational directives issued within the Unified

   Command structure.

11. Shortly after the Incident, informational meetings were held throughout Gulf Coast

   communities in order to raise awareness of the VoO program and to distribute MVCAs to

   local mariners who were considering taking part in the program. Vessel owners seeking to

   participate in the VoO program could, if they chose to, sign and return an executed MVCA to

   BP. BP assigned a unique “MVCA Number” to each vessel covered by an executed MVCA.

12. The purpose of the MVCA was to provide the terms that would govern the relationship

   between BP and the vessel owner if and when the vessel was requested to perform VoO-

   related “Services” as described in Article 2.A of the MVCA.

13. The MVCA created a mechanism for BP to contact a vessel owner to “request” that a vessel

   begin a charter term. If the vessel owner agreed to BP’s request, that “Charter Term”

   commenced when the vessel owner delivered his or her vessel into BP’s service at a

   “mutually agreed” place and time. In practice, to commence a charter term, a BP employee

   or representative would call a selected vessel owner and request that the vessel owner or

   captain bring the vessel to an appointed place at a specified time. At that point, the vessel

   owner could accept or reject BP’s request. If the vessel owner accepted BP’s request and

   there was “mutual agreement” as to the place and time that the vessel owner was to deliver

   his or her vessel, a charter term would commence as of the date that the vessel arrived at the




                                               3
   Case 2:10-md-02179-CJB-DPC Document 4421-3 Filed 10/27/11 Page 5 of 6




   mutually agreed delivery point (and, at times, a vessel owner would be paid for travel time to

   the agreed delivery point).

14. The safety of VoO participants was one of BP’s top priorities throughout the response to the

   Incident. In line with this priority, BP, in conjunction with the United States Coast Guard

   and the Occupational Safety and Health Administration, developed a safety program that

   included, among other things, the provision of training to VoO workers in order to ensure

   those workers were aware of the hazards they might encounter and the procedures to control

   such hazards.

15. For any vessel to be eligible to begin a charter term under an MVCA, the vessel owner or

   vessel captain and the vessel’s crew were required to participate in safety training. This

   training generally consisted of a four-hour module. Pursuant to the terms of the MVCA, BP

   would compensate those in the VoO program $200.00 for attending such training.

16. To terminate a vessel’s charter term, BP or a BP representative informed the vessel owner or

   vessel captain—typically over the phone or the vessel’s radio system or in person—that the

   vessel was being placed off-hire.

17. If a vessel had become contaminated while performing VoO activities: (1) the vessel was

   directed to a BP-provided decontamination facility for decontamination; or (2) the vessel

   owner could “promptly” take the vessel to a private decontamination facility. Under the

   MVCA, if the vessel owner chose to decontaminate the vessel at a private facility, BP would

   reimburse the vessel owner for the “actual cost of hull and gear cleaning and

   decontamination.” A vessel’s charter term would then terminate either once the vessel

   returned to its original point of dispatch or when the vessel owner elected not to return

   directly to the point of original dispatch.



                                                 4
Case 2:10-md-02179-CJB-DPC Document 4421-3 Filed 10/27/11 Page 6 of 6
